         Case
          Case9:20-ap-01026-DS
               9:20-ap-01026-DS Doc
                                 Doc2-1
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                                 Main
                                   AP-Summons
                                      Document PagePage1 1ofof3 4


Attorney or Party Name, Address, Telephone & FAX Nos., State Bar No. &        FOR COURT USE ONLY
Email Address

David M Goodrich
Weiland Golden Goodrich LLP
650 Town Center Drive, Suite 600
Costa Mesa, CA 92626
714−966−1000




Plaintiff or Attorney for Plaintiff

                                     UNITED STATES BANKRUPTCY COURT
                               CENTRAL DISTRICT OF CALIFORNIA − SANTA BARBARA
In re:

                                                                              CASE NO.:    9:19−bk−11768−DS

Kevin B. Gilgallon                                                            CHAPTER:     7


                                                                              ADVERSARY NUMBER:         9:20−ap−01026−DS
                                                               Debtor(s).

Jeremy Faith


                                                               Plaintiff(s)
                               Versus
                                                                                  SUMMONS AND NOTICE OF STATUS
                                                                                    CONFERENCE IN ADVERSARY
Kimberly Reed                                                                        PROCEEDING [LBR 7004−1]

                                                           Defendant(s)



TO THE DEFENDANT(S): A Complaint has been filed by the Plaintiff against you. If you wish to defend against the Complaint,
you must file with the court a written pleading in response to the Complaint. You must also serve a copy of your written
response on the party shown in the upper left−hand corner of this page. The deadline to file and serve a written response is
04/03/2020. If you do not timely file and serve the response, the court may enter a judgment by default against you for the relief
demanded in the Complaint.

 A status conference in the adversary proceeding commenced by the Complaint has been set for:
             Date:                May 5, 2020
             Time:                11:30 AM
             Hearing Judge:       Deborah J. Saltzman
             Location:            1415 State St., Crtrm 201, Santa Barbara, CA 93101



            This form is mandatory. It has been approved for use in the United States Bankruptcy Court for the Central District of California.

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You must comply with LBR 7016−1, which requires you to file a joint status report and to appear at a status
conference. All parties must read and comply with the rule, even if you are representing yourself. You must cooperate with the
other parties in the case and file a joint status report with the court and serve it on the appropriate parties at least 14 days before
a status conference. A court−approved joint status report form is available on the court's website (LBR form F
7016−1.STATUS.REPORT) with an attachment for additional parties if necessary (LBR form F
7016−1.STATUS.REPORT.ATTACH). If the other parties do not cooperate in filing a joint status report, you still must file with
the court a unilateral status report and the accompanying required declaration instead of a joint status report 7 days before the
status conference. The court may fine you or impose other sanctions if you do not file a status report. The court may
also fine you or impose other sanctions if you fail to appear at a status conference.




                                                                                        KATHLEEN J. CAMPBELL
                                                                                        CLERK OF COURT




Date of Issuance of Summons and Notice of Status Conference in Adversary Proceeding: March 4, 2020




                                                                                        By:        "s/" Susan Bertelsen
                                                                                                   Deputy Clerk




           This form is mandatory. It has been approved for use in the United States Bankruptcy Court for the Central District of California.

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                                       PROOF OF SERVICE OF DOCUMENT
I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is:
                                            650 Town Center Drive, Suite 600
                                                  Costa Mesa, CA 92626
A true and correct copy (1) of the foregoing document entitled: SUMMONS AND NOTICE OF STATUS CONFERENCE
IN ADVERSARY PROCEEDING [LBR 7004-1] and (2) the accompanying pleading(s) entitled:
Complaint: (1) To Avoid Preferential Transfers Pursuant to 11 U.S.C. § 547; (2) To Avoid Fraudulent Transfer Pursuant to
_________________________________________________________________________________________________
11 U.S.C. § 548(a)(1)(A); (3) To Avoid Fraudulent Transfer Pursuant to 11 U.S.C. § 548(a)(1)(B);... [See Attached]
 _________________________________________________________________________________________________
will be served or was served (a) on the judge in chambers in the form and manner required by LBR 5005-2(d); and (b) in
the manner stated below:

1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling General
Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink to the document. On (date)
_______________,
 03/04/2020         I checked the CM/ECF docket for this bankruptcy case or adversary proceeding and determined that
the following persons are on the Electronic Mail Notice List to receive NEF transmission at the email addresses stated
below:
Jeremy W. Faith (TR) Trustee@MarguliesFaithlaw.com, C118@ecfcbis.com;Helen@MarguliesFaithLaw.com;
leedowding@gmail.com
David M Goodrich dgoodrich@wgllp.com, vrosales@wgllp.com;kadele@wgllp.com
United States Trustee (ND) ustpregion16.nd.ecf@usdoj.gov
                                                                Service information continued on attached page

2. SERVED BY UNITED STATES MAIL:
              03/04/2020
On (date) _______________,      I served the following persons and/or entities at the last known addresses in this bankruptcy
case or adversary proceeding by placing a true and correct copy thereof in a sealed envelope in the United States mail,
first class, postage prepaid, and addressed as follows. Listing the judge here constitutes a declaration that mailing to the
judge will be completed no later than 24 hours after the document is filed.

Kimberly Reed
6523 Swan Street
Ventura, CA 93003
                                                                                          Service information continued on attached page

3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL (state method
for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on (date) _______________,
                                                                                                  03/04/2020       I served
the following persons and/or entities by personal delivery, overnight mail service, or (for those who consented in writing to
such service method), by facsimile transmission and/or email as follows. Listing the judge here constitutes a declaration
that personal delivery on, or overnight mail to, the judge will be completed no later than 24 hours after the document is
filed.




                                                                                          Service information continued on attached page

I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.

 03/04/2020                Victoria Rosales
  Date                       Printed Name                                                     Signature



          This form is mandatory. It has been approved for use in the United States Bankruptcy Court for the Central District of California.

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(DOCUMENTS CONTINUED)

(4) For Recovery of Avoided Transfers Under 11 U.S.C. § 550; (5) To Preserve Transfer for the Benefit of

the Estate Pursuant to 11 U.S.C. § 551, (6) For Authorization to Sell Real Property in Which Co- Owner

Holds Interest Pursuant to 11 U.S.C. § 363(h); and (7) For Turnover of Property of the Estate AND Status

Conference Procedures
